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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:05CR18
                              )
          v.                  )
                              )
JOSE BELTRAN-NIEBLA,          )                       ORDER
                              )
               Defendant.     )
______________________________)


           The Court has been advised that defendant wishes to

enter a plea in the above matter.         Accordingly,

           IT IS ORDERED that a Rule 11 hearing is scheduled for:

                Thursday, July 28, 2005, at 10:30 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.

           DATED this 19th day of July, 2005.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
